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                                   DISTRICT JUDGE'S CIVIL MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA – PHOENIX
 U.S. District Judge: Diane J. Humetewa                           Date: September 17, 2024
 Case Number: CV-24-08154-PCT-DJH
 Hualapai Indian Tribe v. Haaland et al

 APPEARANCES: Plaintiff(s) Counsel                               Defendant(s) Counsel
              Laura Berglan                                      Daniel Luecke
              Jeffrey C. Parsons                                 Matthew Marinelli
              Thomas R. Delehanty

                                                                 Intervenor Defendant(s) Counsel
                                                                 Mitchell Fleischmann
                                                                 Bree Nevarez
                                                                 William Thorpe
 PRELIMINARY INJUNCTION HEARING:

9:32 a.m. Counsel and parties present. Rule of Exclusion is invoked. Pursuant to the parties’ agreement,
Exhibits 1-19 are admitted. 9:46 a.m. Ka-Voka Jackson sworn and examined. 10:28 a.m. Witness
excused. Brandon Siewiyumptewa sworn and examined. 10:47 a.m. Witness excused. Winfield Wright
sworn and examined. Witness designated as an expert. 11:18 a.m. Recess.

11:40 a.m. Court reconvenes. Counsel and parties present. Witness examined further. 12:35 a.m. Recess.

1:23 p.m. Court reconvenes. Counsel and parties present. The previous witness having been excused,
Frank Mapatis sworn and examined. 2:00 p.m. Witness excused. Duane Clarke sworn and examined.
2:09 p.m. Witness excused. Peter Burck sworn and examined. Exhibit DX-17 is admitted. Witness
designated as an expert. Defendants’ remaining Exhibits DX-1 through DX-16 are admitted. 2:52 p.m.
Witness excused. Recess.

3:06 p.m. Court reconvenes. Counsel and parties present. Ivan Martirosov sworn and examined.
Intervenor-Defendant’s Exhibits AZL1 through AZL-43 and AZL45 are admitted. 3:51 p.m. Witness
excused. Bryan Moravec, Ph.D. sworn and examined. 4:33 p.m. Witness excused. Paul Lloyd sworn and
examined. 4:39 p.m. Witness excused. 4:45 p.m. Plaintiff’s closing argument. 4:50 p.m. Defendants’
closing argument. 4:55 p.m. Intervenor-Defendant’s closing argument. IT IS ORDERED that counsel
may file a summation brief of no more than seven (7) pages within (7) seven days. IT IS FURTHER
ORDERED taking the matter under advisement. 4:58 p.m. Recess.


 Deputy Clerk: Liliana Figueroa                                                   Start: 9:32 AM
 Court Reporter: Hilda Lopez                                                      Stop: 4:58 PM
                                                                                  Total: 5hrs 22min
